                      Case 23-50457-CTG                 Doc 3       Filed 08/10/23     Page 1 of 2


                                        United States Bankruptcy Court
                                              District of Delaware
In re:   YELLOW CORPORATION, et al.,                      )
                                   Debtor                 )
         JEFF MOORE and ELIZABETH BROOK MOORE )
         On behalf of themselves and all others similarly )              Case No.: ___23-11069 (CTG) ____
         situated,                                        )
                                   Plaintiffs,            )              Chapter: ___11_________________
                   v.                                     )
                                                          )
         YELLOW CORPORATION; USF REDDAWAY                 )
         INC.; 1105481 ONTARIO INC.; YELLOW               )
         FREIGHT CORPORATION; EXPRESS LANE                )
         SERVICE, INC.; YELLOW LOGISTICS, INC.,           )
         NEW PENN MOTOR EXPRESS LLC; YRC                  )
         ASSOCIATION SOLUTIONS, INC.; ROADWAY )
         EXPRESS INTERNATIONAL, INC.; YRC                 )              Adv. Proc. No.: _23-50457 (CTG)
         ENTERPRISE SERVICES, INC.; ROADWAY LLC;)
         YRC FREIGHT CANADA COMPANY;                      )
         ROADWAY NEXT DAY CORPORATION; YRC )
         INC.; USF BESTWAY INC.; YRC                      )
         INTERNATIONAL INVESTMENTS, INC.; USF )
         DUGAN INC.; YRC LOGISTICS INC.; USF              )
         HOLLAND INTERNATIONAL SALES                      )
         CORPORATION; YRC LOGISTICS SERVICES, )
         INC.; USF HOLLAND LLC; YRC MORTGAGES, )
         LLC; USF REDSTAR LLC AND YRC REGIONAL )
         TRANSPORTATION, INC.___________________, )
                                   Defendants.

                          SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                        IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                 Address of Clerk:
                                     824 Market Street, 3rd Floor
                                     Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                 Name and Address of Plaintiff’s Attorney
                 James E. Huggett, Esq.           Mary E. Olsen, Esq.
                  Margolis Edelstein              The Gardner Firm, P.C.
                 300 Delaware Ave., Ste. 800      182 St. Francis St., Ste. 103
                 Wilmington, DE 19801             Mobile, AL 36602
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                 Address 824 Market Street                      Room 7
                 3rd Floor
                 Wilmington, DE 19801                           Date and Time September 14, 2023 at
                                                                              2:00 PM
                           Case 23-50457-CTG   Doc 3   Filed 08/10/23      Page 2 of 2




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                           /s/ Una O’Boyle
                                                       Clerk of the Bankruptcy Court
Date: August 10, 2023
